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                            Exhibit 14
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                                                  SOURCE
                                                                                          EXHIBIT

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           COMPANY INTELLIGENCE REPORT 2016/080



           us PRESIDENTIAL ELECTION: REPUBLICAN CANDIDATE DONALD TRUMP'S
           ACTIVITIES IN RUSSIA AND COMPROMISING RELATIONSHIP WITH THE
           KREMLIN



           Summary

                    Russian regime has been cultivating, supporting and assisting TRUMP for
                    at least 5 years. Aim, endorsed by PUTIN, has been to encourage splits and
                    divisions in western alliance

              -     So far TRUMP has declined various sweetener real estate business deals
                    offered him in Russia in order to further the Kremlin's cultivation of him.
                    However he and his inner circle have accepted a regular flow of
                    intelligence from the Kremlin, including on his Democratic and other
                    political rivals

                    Former top Russian intelligence officer claims FSB has compromised
                    TRUMP through his activities in Moscow sufficiently to be able to
                    blackmail him. According to several knowledgeable sources, his conduct
                    in Moscow has included perverted sexual acts which have been
                    arranged/monitored by the FSB

                    A dossier of compromising material on Hillary CLINTON has been collated
                    by the Russian Intelligence Services over many years and mainly
                    comprises bugged conversations she had on various visits to Russia and
                    intercepted phone calls rather than any embarrassing conduct. The
                    dossier is controlled by Kremlin spokesman, PESKOV, directly on PUTIN'S
                    orders. However it has not as yet been distributed abroad, including to
                    TRUMP. Russian intentions for its deployment still unclear


           Detail

              1. Speaking to a trusted compatriot in June 2016 sources A and B, a senior
                 Russian Foreign Ministry figure and a former top level Russian
                 intelligence officer still active inside the Kremlin respectively, the Russian
                 authorities had been cultivating and supporting US Republican
                 presidential candidate, Donald TRUMP for at least 5 years. Source B
                 asserted that the TRUMP operation was both supported and directed by
                 Russian President Vladimir PUTIN. Its aim was to sow discord and


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                   disunity both within the US itself, but more especially within the
                   Transatlantic alliance which was viewed as inimical to Russia's interests.
                   Source C, a senior Russian financial official said the TRUMP operation
                   should be seen in terms of PUTIN'S desire to return to Nineteenth
                   Century 'Great Power' politics anchored upon countries' interests rather
                   than the ideals-based international order established after World War
                   Two. S/he had overheard PUTIN talking in this way to close associates on
                   several occasions.

              2.   In terms of specifics, Source A confided that the Kremlin had been feeding
                   TRUMP and his team valuable intelligence on his opponents, including
                   Democratic presidential candidate Hillary CLINTON, for several years
                   (see more below). This was confirmed by Source D, a close associate of
                   TRUMP who had organized and managed his recent trips to Moscow, and
                   who reported, also in June 2016, that this Russian intelligence had been
                   "very helpful". The Kremlin's cultivation operation on TRUMP also had
                   comprised offering him various lucrative real estate development
                   business deals in Russia, especially in relation to the ongoing 2018 World
                   Cup soccer tournament. However, so far, for reasons unknown, TRUMP
                   had not taken up any of these.

              3.   However, there were other aspects to TRUMP's engagement with the
                   Russian authorities. One which had borne fruit for them was to exploit
                   TRUMP's personal obsessions and sexual perversion in order to obtain
                   suitable 'kompromat' (compromising material) on him. According to
                   Source D, where s/he had been present, TRUMP's (perverted) conduct in
                   Moscow included hiring the presidential suite of the Ritz Carlton Hotel,
                   where he knew President and Mrs OBAMA (whom he hated) had stayed
                   on one of their official trips to Russia, and defiling the bed where they had
                   slept by employing a number of prostitutes to perform a 'golden showers'
                   (urination) show in front of him. The hotel was known to be under FSB
                   control with microphones and concealed cameras in all the main rooms
                   to record anything they wanted to.

              4. The Moscow Ritz Carlton episode involving TRUMP reported above was
                 confirmed by Source E, a senior (western) member of staff at the hotel,
                 who said that s/he and several of the staff were aware of it at the time
                 and subsequently. S/he believed it had happened in 2013. Source E
                 provided an introduction for a company ethnic Russian operative to
                 Source F, a female staffer at the hotel when TRUMP had stayed there, who
                 also confirmed the story. Speaking separately in June 2016, Source B (the
                 former top level Russian intelligence officer) asserted that TRUMP's
                 unorthodox behavior in Russia over the years had provided the
                 authorities there with enough embarrassing material on the now
                 Republican presidential candidate to be able to blackmail him if they so
                 wished.

              5. Asked about the Kremlin's reported intelligence feed to TRUMP over
                 recent years and rumours about a Russian dossier of 'kompromat' on


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                 Hillary CLINTON (being circulated), Source B confirmed the file's
                 existence. S/he confided in a trusted compatriot that it had been collated
                 by Department K of the FSB for many years, dating back to her husband
                 Bill's presidency, and comprised mainly eavesdropped conversations of
                 various sorts rather than details/evidence of unorthodox or
                 embarrassing behavior. Some of the conversations were from bugged
                 comments CLINTON had made on her various trips to Russia and focused
                 on things she had said which contradicted her current position on various
                 issues. Others were most probably from phone intercepts.

              6. Continuing on this theme, Source G, a senior Kremlin official, confided
                 that the CLINTON dossier was controlled exclusively by chief Kremlin
                 spokesman, Dmitriy PESKOV, who was responsible for .
                 compiling/handling it on the explicit instructions of PUTIN himself. The
                 dossier however had not as yet been made available abroad, including to
                 TRUMP or his campaign team. At present it was unclear what PUTIN'S
                 intentions were in this regard.


           20 June 2016




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           COMPANY INTELLIGENCE REPORT 2016/086




           RUSSIA/CYBER CRIME: A SYNOPSIS OF RUSSIAN STATE SPONSORED AND
           OTHER CYBER OFFENSIVE (CRIMINAL) OPERATIONS


           Summary

              -   Russia has extensive programme of state-sponsored offensive cyber
                  operations. External targets include foreign governments and big
                  corporations, especially banks. FSB leads on cyber within Russian
                  apparatus. Limited success in attacking top foreign targets like G7
                  governments, security services and IFls but much more on second tier
                  ones through IT back doors, using corporate and other visitors to Russia

              -   FSB often uses coercion and blackmail to recruit most capable cyber
                  operatives in Russia into its state-sponsored programmes. Heavy use also,
                  both wittingly and unwittingly, of CIS emigres working in western
                  corporations and ethnic Russians employed by neighbouring
                  governments e.g. Latvia

                  Example cited of successful Russian cyber operation targeting senior
                  Western business visitor. Provided back door into important Western
                  institutions.

                  Example given of US citizen of Russian origin approached by FSB and
                  offered incentive of "investment" in his business when visiting Moscow.

              -   Problems however for Russian authorities themselves in countering local
                  hackers and cyber criminals, operating outside state control. Central Bank
                  claims there were over 20 serious attacks on correspondent accounts
                  held by CBR in 2015, comprising Roubles several billion in fraud

                  Some details given of leading non-state Russian cyber criminal groups


           Details

              1. Speaking in June 2016, a number of Russian figures with a detailed
                 knowledge of national cyber crime, both state-sponsored and otherwise,
                 outlined the current situation in this area. A former senior intelligence
                 officer divided Russian state-sponsored offensive cyber operations into
                 four categories (in order of priority):- targeting foreign, especially


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                 western governments; penetrating leading foreign business corporations,
                 especially banks; domestic monitoring of the elite; and attacking political
                 opponents both at home and abroad. The former intelligence officer
                 reported that the Federal Security Service [FSB] was the lead
                 organization within the Russian state apparatus for cyber operations.

             2. In terms of the success of Russian offensive cyber operations to date, a
                senior government figure reported that there had been only limited
                success in penetrating the “first tier" foreign targets. These comprised
                western (especially G7 and NATO) governments, security and intelligence
                services and central banks, and the IFIs. To compensate for this shortfall,
                massive effort had been invested, with much greater success, in attacking
                the "secondary targets", particularly western private banks and the
                governments of smaller states allied to the West. S/he mentioned Latvia
                in this regard. Hundreds of agents, either consciously cooperating with
                the FSB or whose personal and professional IT systems had been
                unwittingly compromised, were recruited. Many were people who had
                ethnic and family ties to Russia and/or had been incentivized financially
                to cooperate. Such people often would receive monetary inducements or
                contractual favours from the Russian state or its agents in return. This
                had created difficulties for parts of the Russian state apparatus in
                obliging/indulging them e.g. the Central Bank of Russia knowingly having
                to cover up for such agents' money laundering operations through the
                Russian financial system.

              3. In terms of the FSB's recruitment of capable cyber operatives to carry out
                 its, ideally deniable, offensive cyber operations, a Russian IT specialist
                 with direct knowledge reported in June 2016 that this was often done
                 using coercion and blackmail. In terms of'foreign' agents, the FSB was
                 approaching US citizens of Russian [Jewish] origin on business trips to
                 Russia. In one case a US citizen of Russian ethnicity had been visiting
                 Moscow to attract investors in his new information technology program.
                 The FSB clearly knew this and had offered to provide seed capital to this
                 person in return for them being able to access and modify his IP, with a
                 view to targeting priority foreign targets by planting a Trojan virus in the
                 software. The US visitor was told this was common practice. The FSB also
                 had implied significant operational success as a result of installing cheap
                 Russian IT games containing their own malware unwittingly by targets
                 on their PCs and other platforms.

              4. In a more advanced and successful FSB operation, an IT operator inside a
                 leading Russian SOE, who previously had been employed on conventional
                 [defensive] IT work there, had been under instruction for the last year to
                 conduct an offensive cyber operation against a foreign director of the
                 company. Although the latter was apparently an infrequent visitor to
                 Russia, the FSB now successfully had penetrated his personal IT and
                 through this had managed to access various important institutions in the
                 West through the back door.



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              5. In terms of other technical IT platforms, an FSB cyber operative flagged
                 Up the Telegram' enciphered commercial system as having been of
                 especial concern and therefore heavily targeted by the FSB, not least
                 because it was used frequently by Russian internal political activists and
                 oppositionists. His/her understanding was that the FSB now successfully
                 had cracked this communications software and therefore it was no longer
                 secure to use.

              6. The senior Russian government figure cited above also reported that
                 non-state sponsored cyber crime was becoming an increasing problem
                 inside Russia for the government and authorities there. The Central Bank
                 of Russia claimed that in 2015 alone there had been more than 20
                 attempts at serious cyber embezzlement of money from corresponding
                 accounts held there, comprising several billions Roubles. More generally,
                 s/he understood there were circa 15 major organised crime groups in the
                 country involved in cyber crime, all of which continued to operate largely
                 outside state and FSB control. These included the so-called 'Anunak',
                 'Buktrap' and 'Metel' organisations.


           26 July 2015




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           COMPANY INTELLIGENCE REPORT 2016/095



           RUSSIA/US PRESIDENTIAL ELECTION; FURTHER INDICATIONS OF
           EXTENSIVE CONSPIRACY BETWEEN TRUMP'S CAMPAIGN TEAM AND THE
           KREMLIN

           Summary

              -     Further evidence of extensive conspiracy between TRUMP's campaign
                    team and Kremlin, sanctioned at highest levels and involving Russian
                    diplomatic staff based in the US

              -     TRUMP associate admits Kremlin behind recent appearance of DNC e-
                    mails on WikiLeaks, as means of maintaining plausible deniability

              -     Agreed exchange of information established in both directions. TRUMP's
                    team using moles within DNC and hackers in the US as well as outside in
                    Russia. PUTIN motivated by fear and hatred of Hillary CLINTON. Russians
                    receiving intel from TRUMP's team on Russian oligarchs and their families
                    in US

              -     Mechanism for transmitting this intelligence involves "pension"
                    disbursements to Russian emigres living in US as cover, using consular
                    officials in New York, DC and Miami

              -     Suggestion from source close to TRUMP and MANAFORT that Republican
                    campaign team happy to have Russia as media bogeyman to mask more
                    extensive corrupt business ties to China and other emerging countries


           Detail

              1. Speaking in confidence to a compatriot in late July 2016, Source E, an
                 ethnic Russian close associate of Republican US presidential candidate
                 Donald TRUMP, admitted that there was a well-developed conspiracy of
                 co-operation between them and the Russian leadership. This was
                 managed on the TRUMP side by the Republican candidate's campaign
                 manager, Paul MANAFORT, who was using foreign policy advisor. Carter
                 PAGE, and others as intermediaries. The two sides had a mutual interest
                 in defeating Democratic presidential candidate Hillary CLINTON, whom
                 President PUTIN apparently both hated and feared.

              2. Inter alia. Source E, acknowledged that the Russian regime had been
                 behind the recent leak of embarrassing e-mail messages, emanating from
                 the Democratic National Committee (DNC], to the WikiLeaks platform.


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                   The reason for using WikiLeaks was "plausible deniability” and the
                   operation had been conducted with the full knowledge and support of
                   TRUMP and senior members of his campaign team. In return the TRUMP
                   team had agreed to sideline Russian intervention in Ukraine as a
                   campaign issue and to raise US/NATO defence commitments in the
                   Baltics and Eastern Europe to deflect attention away from Ukraine, a
                   priority for PUTIN who needed to cauterise the subject.

             3. In the wider context of TRUMP campaign/Kremlin co-operation, Source E
                claimed that the intelligence network being used against CLINTON
                comprised three elements. Firstly there were agents/facilitators within
                the Democratic Party structure itself; secondly Russian emigre and
                associated offensive cyber operators based in the US; and thirdly, state-
                sponsored cyber operatives working in Russia. All three elements had
                played an important role to date. On the mechanism for rewarding
                relevant assets based in the US, and effecting a two-way flow of
                intelligence and other useful information. Source E claimed that Russian
                diplomatic staff in key cities such as New York, Washington DC and
                Miami were using the emigre 'pension' distribution system as cover. The
                operation therefore depended on key people in the US Russian emigre
                community for its success. Tens of thousands of dollars were involved.

             4. In terms of the intelligence flow from the TRUMP team to Russia, Source
                E reported that much of this concerned the activities of business
                oligarchs and their families' activities and assets in the US, with which
                PUTIN and the Kremlin seemed preoccupied.

              5.   Commenting on the negative media publicity surrounding alleged
                   Russian interference in the US election campaign in support of TRUMP,
                   Source E said he understood that the Republican candidate and his team
                   were relatively relaxed about this because it deflected media and the
                   Democrats' attention away from TRUMP’s business dealings in China and
                   other emerging markets. Unlike in Russia, these were substantial and
                   involved the payment of large bribes and kickbacks which, were they to
                   become public, would be potentially very damaging to their campaign.

              6.   Finally, regarding TRUMP’s claimed minimal investment profile in Russia,
                   a separate source with direct knowledge said this had not been for want
                   of trying. TRUMP's previous efforts had included exploring the real estate
                   sector in St Petersburg as well as Moscow but in the end TRUMP had had
                   to settle for the use of extensive sexual services there from local
                   prostitutes rather than business success.




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          COMPANY INTELLIGENCE REPORT 2016/94


          RUSSIA: SECRET KREMLIN MEETINGS ATTENDED BY TRUMP ADVISOR,
          CARTER PAGE IN MOSCOW (JULY 2016)


          Summary

                   TRUMP advisor Carter PAGE holds secret meetings in Moscow with
                   SECHIN and senior Kremlin Internal Affairs official, DIVYEKIN

             -     SECHIN raises issues of future bilateral US-Russia energy co-operation
                   and associated lifting of western sanctions against Russia over Ukraine.
                   PAGE non-committal in response

                   DIVEYKIN discusses release of Russian dossier of 'kompromat' on
                   t r u m p 's opponent, Hillary CLINTON, but also hints at Kremlin
                   possession of such material on TRUMP

          Detail
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             1. Speaking in July 2016, a Russian source close to Rosneft President, PUTIN
                close associate and US-sanctioned individual, Igor SECHIN, confided the
                details of a recent secret meeting between him and visiting Foreign
                Affairs Advisor to Republican presidential candidate Donald TRUMP,
                Carter PAGE.

             2. According to SECHlN's associate, the Rosneft President (CEO) had raised
                with PAGE the issues of future bilateral energy cooperation and
                prospects for an associated move to lift Ukraine-related western
                sanctions against Russia. PAGE had reacted positively to this demarche
                by SECHIN but had been generally non-committal in response.

             3. Speaking separately, also in July 2016, an official close to Presidential
                Administration Head, S. IVANOV, confided in a compatriot that a senior
                colleague in the Internal Political Department of the PA, DIVYEKIN (nfd)
                also had met secretly with PAGE on his recent visit. Their agenda had
                included DIVEYKIN raising a dossier of'kompromat' the Kremlin
                possessed on TRUMP's Democratic presidential rival, Hillary CLINTON,
                and its possible release to the Republican's campaign team.

             4. However, the Kremlin official close to S. IVANOV added that s/he believed
                DIVEYKIN also had hinted (or indicated more strongly) that the Russian
                leadership also had 'kompromat' on TRUMP which the latter should bear
                in mind in his dealings with them.
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       COMPANY INTELLIGENCE REPORT 2016/097




       RUSSIA-US PRESIDENTIAL ELECTION: KREMLIN CONCERN THAT POLITICAL FALLOUT FROM
       DNC E-MAIL HACKING AFFAIR SPIRALLING OUT OF CONTROL



       Summary

                 Kremlin concerned that political fallout from DNC e-mail hacking operation is spiralling
                 out of control. Extreme nervousness among TRUMP's associates as result of negative
                 media attention/accusations

                 Russians meanwhile keen to cool situation and maintain 'plausible deniability' of
                 existing /ongoing pro-TRUMP and anti-CLlNTON operations. Therefore unlikely to be
                 any ratcheting up offensive plays in immediate future

                 Source close to TRUMP campaign however confirms regular exchange with Kremlin
                 has existed for at least 8 years, including intelligence fed back to Russia on oligarchs'
                 activities in US

                 Russians apparently have promised not to use 'kompromat' they hold on TRUMP as
                 leverage, given high levels of voluntary co-operation forthcoming from his team



        Detail

           1. Speaking in confidence to a trusted associate in late July 2016, a Russian emigre figure
              close to the Republican US presidential candidate Donald TRUMP's campaign team
              commented on the fallout from publicity surrounding the Democratic National
              Committee (DNC) e-mail hacking scandal. The emigre said there was a high level of
              anxiety within the TRUMP team as a result of various accusations levelled against
              them and indications from the Kremlin that President PUTIN and others in the
              leadership thought things had gone too far now and risked spiralling out of control.

           2. Continuing on this theme, the emigre associate of TRUMP opined that the Kremlin
              wanted the situation to calm but for 'plausible deniability' to be maintained
              concerning its (extensive) pro-TRUMP and anti-CLINTON operations. S/he therefore
              judged that it was unlikely these would be ratcheted up, at least for the time being.

           3. However, in terms of established operational liaison between the TRUMP team and
              the Kremlin, the emigre confirmed that an intelligence exchange had been running
              between them for at least 8 years. Within this context PUTIN'S priority requirement
              had been for intelligence on the activities, business and otherwise, in the US of leading
              Russian oligarchs and their families. TRUMP and his associates duly had obtained and
              supplied the Kremlin with this information.
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           4. Finally, the emigre said s/he understood the Kremlin had more intelligence on
              CLINTON and her campaign but he did not know the details or when or if it would be
              released. As far as 'kompromat' (compromising information) on TRUMP were
              concerned, although there was plenty of this, he understood the Kremlin had given its
              word that it would not be deployed against the Republican presidential candidate
              given how helpful and co-operative his team had been over several years, and
              particularly of iate.



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          COMPANY INTELLIGENCE REPORT 2016/100


         RUSSIA/USA: GROWING BACKLASH IN KREMLIN TO DNC HACKING AND
         TRUMP SUPPORT OPERATIONS


          Summary

             -     Head of PA IVANOV laments Russian intervention in US presidential
                   election and black PR against CLINTON and the DNC. Vows not to supply
                   intelligence to Kremlin PR operatives again. Advocates now sitting tight
                   and denying everything

             -     Presidential spokesman PESKOV the main protagonist in Kremlin
                   campaign to aid TRUMP and damage CLINTON. He is now scared and
                   fears being made scapegoat by leadership for backlash in US. Problem
                   compounded by his botched intervention in recent Turkish crisis

             -     Premier MEDVEDEV'S office furious over DNC hacking and associated
                   anti-Russian publicity. Want good relations with US and ability to travel
                   there. Refusing to support or help cover up after PESKOV

             -     Talk now in Kremlin of TRUMP withdrawing from presidential race
                   altogether, but this still largely wishful thinking by more liberal elements
                   in Moscow


          Detail

             1. Speaking in early August 2016, two well-placed and established Kremlin
                sources outlined the divisions and backlash in Moscow arising from the
                leaking of Democratic National Committee [DNC] e-mails and the wider
                pro-TRUMP operation being conducted in the US. Head of Presidential
                Administration, Sergei IVANOV, was angry at the recent turn of events.
                He believed the Kremlin "team" involved, led by presidential spokesman
                Dmitriy PESKOV, had gone too far in interfering in foreign affairs with
                their "elephant in a china shop black PR". IVANOV claimed always to have
                opposed the handling and exploitation of intelligence by this PR "team".
                Following the backlash against such foreign interference in US politics,
                IVANOV was advocating that the only sensible course of action now for
                the Russian leadership was to "sit tight and deny everything".

             2. Continuing on this theme the source close to IVANOV reported that
                PESKOV now was "scared shitless" that he would be scapegoated by
                PUTIN and the Kremlin and held responsible for the backlash against
                Russian political interference in the US election. IVANOV was determined
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                 to stop PESKOV playing an independent role in relation to the US going
                 forward and the source fully expected the presidential spokesman now to
                 lay low. PESKOV'S position was not helped by a botched attempt by him
                 also to interfere in the recent failed coup in Turkey from a government
                 relations [GR) perspective [no further details).

             3. The extent of disquiet and division within Moscow caused by the
                backlash against Russian interference in the US election was underlined
                by a second source, close to premier Dmitriy MEDVEDEV (DAM). S/he
                said the Russian prime minister and his colleagues wanted to have good
                relations with the US, regardless of who was in power there, and not least
                so as to be able to travel there in future, either officially or privately. They
                were openly refusing to cover up for PESKOV and others involved in the
                DNC/TRUMP operations or to support his counter-attack of allegations
                against the USG for its alleged hacking of the Russian government and
                state agencies.

             4. According to the first source, close to IVANOV, there had been talk in the
                Kremlin of TRUMP being forced to withdraw from the presidential race
                altogether as a result of recent events, ostensibly on grounds of his
                psychological state and unsuitability for high office. This might not be so
                bad for Russia in the circumstances but in the view of the source, it
                remained largely wishful thinking on the part of those in the regime
                opposed to PESKOV and his "botched" operations, at least for the time
                being.


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       COMPANY INTELLIGENCE REPORT 2016/101




       RUSSIA/US PRESIDENTIAL ELECTION: SENIOR KREMLIN FIGURE OUTLINES EVOLVING RUSSIAN TACTICS IN
       PRO-TRUMP, ANTI-CLINTON OPERATION



       Summary

                 Head of PA, IVANOV assesses Kremlin intervention in US presidential election and outlines leadership
                 thinkingon operational wayforward

                 No new leaks envisaged, as too politically risky, but rather further exploitation of (WikiLeaks) material
                 already disseminated to exacerbate divisions

                 Educated US youth to be targeted as protest(againstCLINTON) and swingvote iri attempt to turn them
                 over to TRUMP

                 Russian leadership, including PUTIN, celebrating perceived success to date in splitting US hawks and
                 elite

                 Kremlin engaging with several high profile US players, including STEIN, PAGE and (former DIA Director
                 Michael Flynn), and funding their recent visits to Moscow



       Details


           1.    Speaking in confidence to a close colleague in early August 2016, Head of the Russian Presidential
                 Administration (PA), Sergei IVANOV, assessed the impactand results of Kremlin intervention in the US
                 presidential electionto date. Although most commentators believed that the Kremlin was behind the
                 leaked DNC/CLINTON e-mails, this remained technically deniable. Therefore the Russians would not
                 risk their position for the time being with new leaked material, even to a third party like WikiLeaks.
                 Rather the tactics would be to spread rumours and mis information a bout the content of what already
                 had been leaked and make up new content.

           2.    Continuing on this theme, IVANOV said that the audience to be targeted by such operations was the
                 educated youth in America as the PA assessed that there was still a chance they could be persuaded to
                 ■vote for Republican candidate Donald TRUMP as a protest againstthe Washington establishment (in
                 the form of Democratic candidate Hi Mary CLINTON). The hope was that even if she won, as a result of
                 this CLINTON in power would be bogged down in working for internal reconciliation in the US, rather
                 than being able to focus on foreign policy which would damage Russia's interests. This a Iso should give
                  PresidentPUTlN more room for manoeuvre inthe run-upto Russia's own presidential election in 2018.

           3.    IVANOV reported that although the Kremlin had underestimated the strength of US media and liberal
                 reaction to the DNC hackandTRUMP's links to Russia, PUTIN was generally satisfied with the progress
                 of the anti-CLINTON operation to date. He recently had had a drink with PUTIN to markthis. In IVANOV's
                 view,the US hadtriedto dividethe Russianelitewithsanctions butfailed, whilstthey, by contrast,had
                 succeeded in splitting the US hawks inimical to Russia and theWashington elite more generally, half of
                 whom had refused to endorse any presidential candidateas a resultofRussianIntervention.

           4.    Speaking separately, also in early August 2016, a Kremlin official involved in US relations commented
                 on aspects ofthe Russianoperationtodate. Its goals had been threefold- askingsympathetic USactors
                 how Moscow could help them; gathering relevant intelligence; and creating and disseminating
                 compromising information ('kompromat').This had involved the Kremlin supporting various US political
                 figures, including funding indirectly their recent visits to Moscow. S/he named a delegation from
                 Lyndon LAROUCHE; presidential candidateJill STEIN of the Green Party; TRUMP foreign policy adviser
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              Carter PAGE; and former DIA Director Michael Flynn, in this regard and as successful in terms of
              perceived outcomes.



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       COMPANY INTELLIGENCE REPORT 2016/102




       RUSSIA/US PRESIDENTIAL ELECTION: REACTION IN TRUMP CAMP TO RECENT NEGATIVE PUBLICITY ABOUT
       RUSSIAN INTERFERENCE AND LIKELY RESULTING TACTICS GOING FORWARD                               -



       Summary

                 TRUMP campaign insider reports recent DNC e-mail leaks were aimed at switching SANDERS (protest)
                 voters away from CLINTON and over to TRUMP

                 Admits Republican campaign underestimated resulting negative reaction from US liberals, elite and
                 media andforced to change courseas result

                 Need now to turn tables on CLINTON'S use of PUTIN as bogeyman in election, although some
                 resentment at Russian president's perceived attempt to undermine USG and system over and above
                 swinging presidential election



       Detail

           1.    Speaking in confidence on 9 August 2016, an ethnic Russian associate of Republican US presidential
                 candidate Donald TRUMP discussed the reactioninsidehis camp, and revised tactics therein resulting
                 from recent negative publicity concerning Moscow's clandestine involvement in the campaign.
                 t r u mp 's associate reported that the aimof leakingtheDNC e-mails to WikiLeaks duringthe Democratic
                 Convention had been to swing supporters of Bernie SANDERS a way from Hillary CLINTON and across to
                 TRUMP. These voters were perceived as activistand anti-status quo and anti-establishment and in that
                 regard sharing many features with the TRUMP campaign, including a visceral dislikeof Hillary CLINTON.
                 This objective had been conceived and promoted, inter alia, by TRUMP's foreign policy adviser Carter
                 PAGE who had discussed itdirectly with the ethnic Russian associate.

           2.    Continuing on thistheme, the ethnic Russian associateof TRUMP assessed that the problem wasthat
                 the TRUMP campaign had underestimated the strength of the negative reaction from liberalsand
                 especially the conservative elite to Russian interference. This was forcing a rethink and a I ikeiy change
                 of tactics. The main objective in the shortterm was to check Democratic candidate Hillary CLINTON'S
                 successful exploitation of the PUTIN as bogeyman/Russian interference story to tarnish TRUMP and
                 bolster her own (patriotic) credentials. The TRUMP campaign was focusing on tapping into support in
                 the American television media to achieve this, as they reckoned this resource had been underused by
                 them to date.

            3.   However, TRUMP's associate also admitted that there was a fair amount of anger and resentment
                 within the Republicancandidate's tea mat what was perceived by PUTIN as going beyond the objective
                 of weakening CUNTON and bolstering TRUMP, by attempting to exploit the situation to undermine the
                 US government and democratic system more generally. It was unclear at present how this aspect of
                 the situation would piayout inthe weeks to come.



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     COMPANY INTELLIGENCE REPORT 2016/136



     RUSSIA/US PRESIDENTIAL ELECTION: FURTHER DETAILS OF TRUMP LAWYER
     COHEN'S SECRET LIAISON WITH THE KREMLIN


     Summary

     - Kremlin insider reports TRUMP lawyer COHEN's secret meeting/s with Kremlin officials in
       August 2016 was/were held in Prague

     - Russian parastatal organisation Rossotrudnichestvo used as cover for this liaison and premises
       in Czech capital may have been used for the meeting/s

     - Pro-PUTIN leading Duma figure, KOSACHEV, reportedly involved as "plausibly deniable"
       facilitator and may have participated in the August meeting/s with COHEN

     Detail

     1. Speaking to a compatriot and friend on 19 October 2016, a Kremlin insider provided further
        details of reported clandestine meeting/s between Republican presidential candidate, Donald
        TRUMP'S lawyer Michael COHEN and Kremlin representatives in August 2016. Although the
        communication between them had to be cryptic for security reasons, the Kremlin insider
        clearly indicated to his/her friend that the reported contact/s took place in Prague, Czech
        Republic.

     2. Continuing on this theme, the Kremlin insider highlighted the importance of the Russian
        parastatal organisation, Rossotrudnichestvo, in this contact between TRUMP campaign
        representative/s and Kremlin officials. Rossotrudnichestvo was being used as cover for this
        relationship and its office in Prague may well have been used to host the COHEN/Russian
        Presidential Administration (PA) meeting/s. It was considered a "plausibly deniable" vehicle
        for this, whilst remaining entirely under Kremlin control.

     3. The Kremlin insider went on to identify leading pro-PUTIN Duma figure, Konstantin
        KOSACHEV (Head of the Foreign Relations Committee) as an important figure in the TRUMP
        campaign-Kremlin liaison operation. KOSACHEV, also "plausibly deniable" being part of the
        Russian legislature rather than executive, had facilitated the contact in Prague and by
        implication, may have attended the meeting/s with COHEN there in August.

     Company Comment

     We reported previously, in our Company Intelligence Report 2016/135 of 19 October 2016 from the
     same source, that COHEN met officials from the PA Legal Department clandestinely in an EU
     country in August 2016. This was in order to clean up the mess left behind by western media
     revelations of TRUMP ex-campaign manager MANAFORT's corrupt relationship with the former
     pro-Russian YANUKOVYCH regime in Ukraine and TRUMP foreign policy advisor. Carter
     PAGE'S secret meetings in Moscow with senior regime figures in July 2016. According to the
     Kremlin advisor, these meeting/s were originally scheduled for COHEN in Moscow but shifted to
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     what was considered an operationally "soft" EU country when it was judged too compronaising
     for him to travel to the Russian capital.

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          COMPANY INTELLIGENCE REPORT 2016/105


          RUSSIA/UKRAINE: THE DEMISE OF TRUMP'S CAMPAIGN MANAGER PAUL
          MANAFORT


          Summary

             -     Ex-Ukrainian President YANUKOVYCH confides directly to PUTIN that he
                   authorised kick-back payments to MANAFORT, as alleged in western
                   media. Assures Russian President however there is no documentary
                   evidence/trail

                   PUTIN and Russian leadership remain worried however and sceptical that
                   YANUKOVYCH has fully covered the traces of these payments to TRUMP's
                   former campaign manager

             -     Close associate of TRUMP explains reasoning behind MANAFORT's recent
                   resignation. Ukraine revelations played part but others wanted
                   MANAFORT out for various reasons, especially LEWANDOWSKI who
                   remains influential


          Detail

             1. Speaking in late August 2016, in the immediate aftermath of Paul
                MANAFORT’s resignation as campaign manager for US Republican
                presidential candidate Donald TRUMP, a well-placed Russian figure
                reported on a recent meeting between President PUTIN and ex-President
                YANUKOVYCH of Ukraine. This had been held in secret on 15 August near
                Volgograd, Russia and the western media revelations about MANAFORT
                and Ukraine had featured prominently on the agenda. YANUKOVYCH had
                confided in PUTIN that he did authorise and order substantial kick-back
                payments to MANAFORT as alleged but sought to reassure him that there
                was no documentary trail left behind which could provide clear evidence
                of this.

             2. Given YANUKOVYCH'S [unimpressive] record in covering up his own
                corrupt tracks in the past, PUTIN and others in the Russian leadership
                were sceptical about the ex-Ukrainian president’s reassurances on this as
                relating to MANAFORT. They therefore still feared the scandal had legs,
                especially as MANAFORT had been commercially active in Ukraine right
                up to the time [in March 2016) when he joined TRUMP's campaign team.
                For them it therefore remained a point of potential political vulnerability
                and embarrassment.
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            3. Speaking separately, also in late August 2016, an American political
               figure associated with Donald TRUMP and his campaign outlined the
               reasons behind MANAFORT's recent demise. S/he said it was true that
               the Ukraine corruption revelations had played a part in this but also,
               several senior players close to TRUMP had wanted MANAFORT out,
               primarily to loosen his control on strategy and policy formulation. Of
               particular importance in this regard was MANAFORT’s predecessor as
               campaign manager, Corey LEWANDOWSKl, who hated MANAFORT
               personally and remained close to TRUMP with whom he discussed the
               presidential campaign on a regular basis.


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          COMPANY INTELLIGENCE REPORT 2016/111



          RUSSIA/US: KREMLIN FALLOUT FROM MEDIA EXPOSURE OF MOSCOW’S
          INTERFERENCE IN THE US PRESIDENTIAL CAMPAIGN


          Summary

             -     Kremlin orders senior staff to remain silent in media and private on
                   allegations of Russian interference in US presidential campaign

             -     Senior figure however confirms gist of allegations and reports IVANOV
                   sacked as Head of Administration on account of giving PUTIN poor advice
                   on issue. VAINO selected as his replacement partly because he was not
                   involved in pro-TRUMP, anti-CLINTON operation/s

                   Russians do have further 'kompromat' on CLINTON (e-mails) and
                   considering disseminating it after Duma (legislative elections) in late
                   September. Presidential spokesman PESKOV continues to lead on this

             -     However, equally important is Kremlin objective to shift policy consensus
                   favourably to Russia in US post-OBAMA whoever wins. Both presidential
                   candidates' opposition to TPP and TTIP viewed as a result in this respect

             -     Senior Russian diplomat withdrawn from Washington embassy on
                   account of potential exposure in US presidential election operation/s


          Detail

             1. Speaking in confidence to a trusted compatriot in mid-September 2016, a
                senior member of the Russian Presidential Administration (PA)
                commented on the political fallout from recent western media
                revelations about Moscow's intervention, in favour of Donald TRUMP and
                against Hillary CLINTON, in the US presidential election. The PA official
                reported that the issue had become incredibly sensitive and that
                President PUTIN had issued direct orders that Kremlin and government
                insiders should not discuss it in public or even in private.

             2. Despite this, the PA official confirmed, from direct knowledge, that the
                gist of the allegations was true. PUTIN had been receiving conflicting
                advice on interfering from three separate and expert groups. On one side
                had been the Russian ambassador to the US, Sergei KISLYAK, and the
                Ministry of Foreign Affairs, together with an independent and informal
                network run by presidential foreign policy advisor, Yuri USHAKOV
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                  (KISLYAK's predecessor in Washington) who had urged caution and the
                  potential negative impact on Russia from the operation/s. On the other
                  side was former PA Head, Sergei IVANOV, backed by Russian Foreign
                  Intelligence (SVR), who had advised PUTIN that the pro-TRUMP, anti-
                  CLINTON operation/s would be both effective and plausibly deniable
                  with little blowback. The first group/s had been proven right and this had
                  been the catalyst in PUTIN'S decision to sack IVANOV (unexpectedly) as
                  PA Head in August. His successor, Anton VAINO, had been selected for the
                  job partly because he had not been involved in the US presidential
                  election operation/s.

             3.   Continuing on this theme, the senior PA official said the situation now
                  was that the Kremlin had further 'kompromat' on candidate CLINTON
                  and had been considering releasing this via "plausibly deniable" channels
                  after the Duma (legislative) elections were out of the way in mid-
                  September. There was however a growing train of thought and associated
                  lobby, arguing that the Russians could still make candidate CLINTON look
                  "weak and stupid" by provoking her into railing against PUTIN and
                  Russia without the need to release more of her e-mails. Presidential
                  Spokesman, Dmitriy PESKOV remained a key figure in the operation,
                  although any final decision on dissemination of further material would be
                  taken by PUTIN himself.

             4. The senior PA official also reported that a growing element in Moscow's
                intervention in the US presidential election campaign was the objective of
                shifting the US political consensus in Russia's perceived interests
                regardless of who won. It basically comprised of pushing candidate
                CLINTON away from President OBAMA's policies. The best example of
                this was that both candidates now openly opposed the draft trade
                agreements, TPP and TTIP, which were assessed by Moscow as
                detrimental to Russian interests. Other issues where the Kremlin was
                looking to shift the US policy consensus were Ukraine and Syria. Overall
                however, the presidential election was considered still to be too close to
                call.

             5.   Finally, speaking separately to the same compatriot, a senior Russian
                  MFA official reported that as a prophylactic measure, a leading Russian
                  diplomat, Mikhail KULAGIN, had been withdrawn from Washington at
                  short notice because Moscow feared his heavy involvement'in the US
                  presidential election operation, including the so-called veterans' pensions
                  ruse (reported previously), would be exposed in the media there. His
                  replacement, Andrei BONDAREV however was clean in this regard.
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          Company Comment

          The substance of what was reported by the senior Russian PA official in paras 1
          and 2 above, including the reasons for Sergei IVANOV's dismissal, was
          corroborated independently by a former top level Russian intelligence officer
          and Kremlin insider, also in mid-September.


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          COMPANY INTELLIGENCE REPORT 2016/112



          RUSSIA/US PRESIDENTIAL ELECTION; KREMLIN-ALPHA GROUP CO-
          OPERATION


          Summary

             -     Top level Russian official confirms current closeness of Alpha Group-
                   PUTIN relationship. Significant favours continue to be done in both
                   directions and FRIDMAN and AVEN still giving informal advice to PUTIN,
                   especially on the US

             -     Key intermediary in PUTIN-Alpha relationship identified as Oleg
                   GOVORUN, currently Head of a Presidential Administration department
                   but throughout the 1990s, the Alpha executive who delivered illicit cash
                   directly to PUTIN

                   PUTIN personally unbothered about Alpha's current lack of investment in
                   Russia but under pressure from colleagues over this and able to exploit it
                   as lever over Alpha interlocutors


          Detail

             1. Speaking to a trusted compatriot in mid-September 2016, a top level
                Russian government official commented on the history and current state
                of relations between President PUTIN and the Alpha Group of businesses
                led by oligarchs Mikhail FRIDMAN, Petr AVEN and German KHAN. The
                Russian government figure reported that although they had had their ups
                and downs, the leading figures in Alpha currently were on very good
                terms with PUTIN. Significant favours continued to be done in both
                directions, primarily political ones for PUTIN and business/legal ones for
                Alpha. Also, FRIDMAN and AVEN continued to give informal advice to
                PUTIN on foreign policy, and especially about the US where he distrusted
                advice being given to him by officials.

             2. Although FRIDMAN recently had met directly with PUTIN in Russia, much
                of the dialogue and business between them was mediated through a
                senior Presidential Administration official, Oleg GOVORUN, who currently
                headed the department therein responsible for Social Co-operation With
                the CIS. GOVORUN was trusted by PUTIN and recently had accompanied
                him to Uzbekistan to pay respects at the tomb of former president
                KARIMOV. However according to the top level Russian government
                official, during the 1990s GOVORUN had been Head of Government
                Relations at Alpha Group and in reality, the "driver" and "bag carrier"
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                used by FRIDMAN and AVEN to deliver large amounts of illicit cash to the
                Russian president, at that time deputy Mayor of St Petersburg. Given that
                and the continuing sensitivity of the PUTIN-Alpha relationship, and need
                for plausible deniability, much of the contact between them was now
                indirect and entrusted to the relatively low profile GOVORUN.

             3. The top level Russian government official described the PUTIN-Alpha
                relationship as both carrot and stick. Alpha held 'kompromat' on PUTIN
                and his corrupt business activities from the 1990s whilst although not
                personally overly bothered by Alpha's failure to reinvest the proceeds of
                its TNK oil company sale into the Russian economy since, the Russian
                president was able to use pressure on this count from senior Kremlin
                colleagues as a lever on FRIDMAN and AVEN to make them do his
                political bidding.


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         COMPANY INTELLIGENCE REPORT 2016/113



         RUSSIA/US PRESIDENTIAL ELECTION- REPUBLICAN CANDIDATE TRUMP'S
         PRIOR ACTIVITIES IN ST PETERSBURG


         Summary

            -     Two knowledgeable St Petersburg sources claim Republican candidate
                  TRUMP has paid bribes and engaged in sexual activities there but key
                  witnesses silenced and evidence hard to obtain

                  Both believe Azeri business associate of TRUMP, Araz AGALAROV will
                  know the details

         Detail

            1. Speaking to a trusted cornpatriot in September 2016, two well-placed
               sources based in St Petersburg, one in the political/business elite and the
               other involved in the local services and tourist industry, commented on
               Republican US presidential candidate Donald TRUMP's prior activities in
               the city.

            2. Both knew TRUMP had visited St Petersburg on several occasions in the
               past and had been interested in doing business deals there involving real
               estate. The local business/political elite figure reported that TRUMP had
               paid bribes there to further his interests but very discreetly and only
               through affiliated companies, making it very hard to prove. The local
               services industry source reported that TRUMP had participated in sex
               parties in the city too, but that all direct witnesses to this recently had
               been "silenced" i.e. bribed or coerced to disappear.

            3. The two St Petersburg figures cited believed an Azeri business figure,
               Araz AGALAROV (with offices in Baku and London) had been closely
               involved with TRUMP in Russia and would know most of the .details of
               what the Republican presidential candidate had got up to there.


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    COMPAMY tNTELLlGENCE REPORT 2016/130



    RUSSIA: KREMLIN ASSESSMENT OF TRUMP AND RUSSIAN INTERFERENCE IN US
    PRESIDENTIAL ELECTION


    Summary
          Buyer's remorse sets In with Kremlin over TRUMP support operation In US presidentlat
        elecilion. Russian teadership clisappolnted that leaked e-iriails on CLINTON have nol had
        greater impact in cainpaign

    -     Russians have. Injeoted (urlher anlD-CLINTON material into the 'plausibly deniable' leaks
        pipeline which will continue to surface, buJ best material already In public domain

          PUTIN angry with senior officials who "overpromised'' on TRUMP and jurther heads likely to
        roll as result. Foreign Minister LAVRCV may be next

         TRUMP supported by Kremlin because seen as divisive, anti-establishment candidate who
        woutd sitake up current international status quo In Russia’s favor. Lead on TRUMP operation
        moved from Foreign Ministry to FSB and then to presidential administration where it now sits


     Detail

    1. Speaking separately in oonlidence to a trusted compatriot In early October 2016, a senior
        Russian leadership tigure and a Foreign Mirtislry official reported on recent developments
        concerning the Kremlin's operation to su pport Republican candidate Donatd TRUMP in the
        US presidential election. The senior leadership figure said that a degree of buyer's remorse
        was sellirtg in among Russian leaders concerning TRUMP. PUTIN and his colleagues were
        surprised and disappointed that leaks ol Democratic candidate, Hiieary CLINTON'S hacked
        e-mails had not had greater impact on the campaign.
    2.. Continuing on this Iherno, the senior leadership figure commented that a stream of further
        ivacked CLINTON material already had been injected by the Kremlin Into compliianl v/estern
        media outlets ilke WIkIleaks, which remairved at least “plausibly •deniable", so the stream of
        these would continue through October and up to the eteclion. Hov/ever s/he understood that
        the best material the Russians had already was out and there were no real game-chartgers
        to come.
    3. The Russian Foreign Ministry official, who had direct access to the TRUMP support
        operation, reported that PUTIN was angry at his subord6na.le"s “over-promising'' on the
        Republican presidential candidate, both in terms of his chances and reliability and being
        able to cover and/or contain the US backlash over Kremlin interference. More heads
        therefore were likely to roll, with the MFA the easiest target, lironicaily, despite his consistent
        urging of caution on the Issue , Foreign Minister LAVROV could be the next one to go.
    4. Asked to explain why PUTIN and the Krenilln had laundied such an aggressive TRUMP
        support operation In the first place, line MFA official said that Russia needed to upset (he
        liberal International status quo, including on Ukralne-rei-Med sanctions, which was seriously
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       disadvantagiiniQi the catintry. TRUMP was viewed as divisive In disrupting the whole US
       pDlltleal aystem; anthEstabllshment; and a pragmatist wKh wfiem they could do busirvess- As
       the TROMiP support eparatr-on had gained inomentum, control of tt had passed (rom the MFA
       to the FSB and Iheji irtto the presidential adminJatraion where It rernalined, a rejection of tls
       growing slgniilcance ovej lime. There was still a view In the Kremilin that TRUMP would
       corttinue as a (dlviislve) pollttcal torce even If he lost the presideiicy and may run for and be
       elected to another pubJIo dfltce.

    12 October 2016
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     COMPANY INTELLIGENCE REPORT 2016/134



     RUSSIA/US PRESIDENTIAL ELECTION; FURTHER DETAILS OF KREMLIN LIAISON WITH
     TRUMP CAMPAIGN


     Summary

     - Close associate of SECHIN confirms his secret meeting in Moscow with Carter PAGE in July

     " Substance included offer of large stake in Rosneft in return for lifting sanctions on Russia. PAGE
       confirms this is TRUMP's intention

     - SECHIN continued to think TRUMP could win presidency up to 17 October. Now looking to
     reorientate his engagement with the US

     ' Kremlin insider highlights importance of TRUMP's lawyer, Michael COPIEN in covert
       relationship with Russia. COHEN's wife is of Russian descent and her father a leading property
       developer in Moscow


     Detail

     1. Speaking to a trusted compatriot in mid October 2016, a close associate of Rosneft President
        and PUTIN ally Igor' SECHIN elaborated on the reported secret meeting between the latter
        and Carter PAGE, of US Republican presidential candidate's foreign policy team, in Moscow in
        July 2016. The secret meeting had been confirmed to him/her by a senior member of SECHIN's
        staff, in addition to by the Rosneft President himself. It took place on either 7 or 8 July, the same
        day or the one after Carter PAGE made a public speech to the Higher Economic School in
        Moscow.

     2. In terms of the substance of their discussion, SECHIN's associate said that the Rosneft
        President was so keen to lift personal and corporate western sanctions imposed on the
        company, that he offered PAGE/TRUMP's associates the brokerage of up to a 19 per cent
        (privatised) stake in Rosneft in return. PAGE had expressed interest and confirmed that were
        TRUMP elected US president, then sanctions on Russia would be lifted.

     3. According to SECHIN's close associate, the Rosneft President had continued to believe that
        TRUMP could win the US presidency right up to 17 October, when he assessed this was no
        longer possible. SECHIN was keen to re-adapt accordingly and put feelers out to other
        business and political contacts in the US instead.

     4. Speaking separately to the same compatriot in mid-October 2016, a Kremlin insider with direct
        access to the leadership cor\firmed that a key role in the secret TRUMP campaign/Kremlin
        relationship was being played by the Republican candidate's personal lawyer Michael
        COHEN. COHEN had a wife of Russian origin, whose father, Efim SHUSTERMAN, was a
        leading Moscow property developer.
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     Source Comment

     5. SECHINAS associate opined that although PAGE had not stated it explicitly to SECHIN, he had
        clearly implied that in terms of his comment on TRUMP's intention to lift Russian sanctions if
        elected president, he was speaking with the Republican candidate's authority.

      Company Comment

      6. It appears that SHUSTERMAN has a country house (dacha) in the settlement of Barvikha, west
         of Moscow. This village is reserved for the residences of the top leadership and their close
         associates.



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              COMPANY INTELLIGENCE REPORT 2016/135



              RUSSIA/US PRESIDENTIAL ELECTION: THE IMPORTANT ROLE OF TRUMP
              LAWYER, COHEN IN CAMPAIGN'S SECRET LIAISON WITH THE KREMLIN


              Summary

                       Kremlin insider outlines important role played by TRUMP's lawyer
                       COHEN in secret liaison with Russian leadership

                       COHEN engaged with Russians in trying to cover up scandal of
                       MANAFORT and exposure of PAGE and meets Kremlin officials secretly in
                       the EU in August in pursuit of this goal

                       These secret contacts continue but are now farmed out to trusted agents
                       in Kremlin-linked institutes so as to remain "plausibly deniable" for
                       Russian regime

                       Further confirmation that sacking of'lVANOV and appointments of VAINO
                       and KIRIYENKO linked to need to cover up Kremlin's TRUMP support
                       operation


              Detail

                 1. Speaking in confidence to a longstanding compatriot friend in mid-
                    October 2016, a Kremlin insider highlighted the importance of
                    Republican presidential candidate Donald TRUMP's lawyer, Michael
                  1 COHEN, in the ongoing secret liaison relationship between the New York
                    tycoon’s carnpaign and the Russian leadership. COHEN's role had grown
                    following the departure of Paul MANNAFORT as TRUMP's campaign
                    manager in August 2016. Prior to that MANNAFORT had led for the
                    TRUMP side.

                 2. According to the Kremlin insider, COHEN now was heavily engaged in a
                    cover up and damage limitation operation in the attempt to prevent the
                    full details of TRUMP's relationship with Russia being exposed. In
                    pursuit of this aim, COHEN had met secretly with several Russian
                    Presidential Administration (PA] Legal Department officials in an EU
                    country in August 2016. The immediate issues had been to contain
                    further scandals involving MANNAFORT's commercial and political role
                    in Russia/Ukraine and to limit the damage arising from exposure of
                    former TRUMP foreign policy advisor. Carter PAGE'S secret meetings
                    with Russian leadership figures in Moscow the previous month. The
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                    overall objective had been to "to sweep it all under the carpet and make
                    sure no connections could be fully established or proven"

                3. Things had become even "hotter" since August on the TRUMP-Russia
                   track. According to the Kremlin insider, this had meant that direct contact
                   between the TRUMP team and Russia had been farmed out by the
                   Kremlin to trusted agents of influence working in pro-government policy
                   institutes like that of Law and Comparative Jurisprudence. COHEN
                   however continued to lead for the TRUMP team.

                4. Referring back to the (surprise) sacking of Sergei IVANOV as Head of PA
                   in August 2016, his replacement by Anton VAINO and the appointment of
                   former Russian premier Sergei KIRIYENKO to another senior position in
                   the PA, the Kremlin insider repeated that this had been directly
                   connected to the TRUMP support operation and the need to cover up now
                   that it was being exposed by the USG and in the western media.


             Company Comment

             The Kremlin insider was unsure of the identities of the PA officials with whom
             COHEN met secretly in August, or the exact date/s and locations of the
             meeting/s. There were significant internal security barriers being erected in the
             PA as the TRUMP issue became more controversial and damaging. However s/he
             continued to try to obtain these.


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          COMPANY INTELLIGENCE REPORT 2016/166



           V3S/RI)SSIA: FURTHER DETAILS OF SECRET DIALOGUE BETWEEN TRUMP
           CAMPAIGN TEAM, KREMLIN AND ASSOCIATED HACKERS IN PRAGUE



           Summary

              -     t r u m p ’s representative COHEN accompanied to Prague in
                    August/September 2016 by 3 colleagues for secret discussions with
                    Kremlin representatives and associated operators/hackers

              -     Agenda included how to process deniable cash payments to operatives;
                    contingency plans for covering up operations; and action in event of a
                    CLINTON election victory

              -     Some further details of Russian representatives/operatives involved;
                    Romanian hackers employed; and use of Bulgaria as bolt hole to "lie low"

              -     Anti-CLINTON hackers and other operatives paid by both TRUMP team
                    and Kremlin, but with ultimate loyalty to Head of PA, IVANOV and his
                    successor/s

           Detail

              1. We reported previously [2016/135 and /136) on secret meeting/s held
                 in Prague, Czech Republic in August 2016 between then Republican
                 presidential candidate Donald TRUMP’s representative, Michael COHEN
                 and his interlocutors from the Kremlin working under cover of Russian
                 'NGO' Rossotriidnichestvo.

              2.

                     provided further details of these meeting/s and associated anti-
                     CLINTON/Democratic Party operations. COHEN had been accompanied
                     to Prague by 3 colleagues and the timing of the visit was either in the last
                     week of August or the first week of September. One of their main Russian
                     interlocutors was Oleg SOLODUKHIN operating under
                     Rossotrudnichestvo cover. According                           the agenda
                    comprised questions on how deniable cash payments were to be made to
                    hackers who had worked in Europe under Kremlin direction against the
                    CLINTON campaign and various contingencies for covering up these
                    operations and Moscow’s secret liaison with the TRUMP team more
                    generally.
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                  ____                  I reported that over the period March-September 2016
                  a company called XBT/Webzilla and its affiliates had been using botnets
                  and porn traffic to transmit viruses, plant bugs, steal data and conduct
                  “altering operations” against the Democratic Party leadership. Entities
                   linked to one Aleksei GUBAROV were involved and he and another
                   hacking expert, both recruited under duress by the FSB, Seva
                   KAPSUGOVICH, were significant players in this operation. In Prague,
                   COHEN agreed contingency plans for various scenarios to protect the
                   operation, but in particular what was to be done in the event that Hillary
                   CLINTON won the presidency. It was important in this event that all cash
                    payments owed were made quickly and discreetly and that cyber and
                    other operators were stood down/able to go effectively to ground to
                    cover their traces. (We reported earlier that the involvement of political
                    operatives Paul MANAFORT and Carter PAGE in the secret TRUMP-
                    Kremlin liaison had been exposed in the media in the run-up to Prague
                   and that damage limitation of these also was discussed by COHEN with
                    the Kremlin representatives).

                   In terms of practical measures to be taken, it was agreed by the two sides
                   in Prague to stand down various "Romanian hackers" (presumably based
                   in their homeland or neighbouring eastern Europe) and that other
                   operatives should head for a bolt-hole in Plovdiv, Bulgaria where they
                   should “lay low". On payments, IVANOV's associate said that the
                   operatives involved had been paid by both TRUMP’s team and the
                   Kremlin, though their orders and ultimate loyalty lay with IVANOV, as
                   Head of the PA and thus ultimately re,sponsible for Che operation, and his
                   designated successor/s after he was dismissed by president PUTIN in
                   connection with the anti-CLlNTON operation in mid August.


             13 December 2016




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